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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

MASTERWORKS DEVELOPMENT CO.,                §
LLC; CLUB QUARTERS                          §
MANAGEMENT COMPANY, L.L.C.;                 §
CLUB QUARTERS FRANCHISE                     §
NETWORK, L.L.C.; CLUB QUARTERS              §
MEMBERSHIP NETWORK, L.L.C.;                 §
                                            §
CEDAR & WASHINGTON ASSOCIATES,
                                            §
LLC; 11 WEST 51 REALTY LLC; 451
                                            §
LEXINGTON REALTY LLC;                       §
NORTHUMBERLAND HOUSE LIMITED;               §
KINGSWAY LIF HOLDINGS LIMITED;              §
MICHIGAN WACKER ASSOCIATES,                 §    CIVIL ACTION NO. 4:21-CV-01019
L.L.C.; FANNIN & RUSK ASSOCIATES,           §
L.P.; URBAN LIFESTYLE                       §
MANAGEMENT, LLC; PTH 40                     §
ASSOCIATES, LLC; MIDTOWN SOUTH              §
OWNER LLC,                                  §
                                            §
                                            §
       Plaintiffs,                          §
                                            §
v.                                          §
                                            §
ZURICH AMERICAN INSURANCE                   §
COMPANY,                                    §
                                            §
       Defendant.                           §

 DEFENDANT’S RULE 12(B)(2) MOTION TO DISMISS THE CLAIMS OF CERTAIN
       PLAINTIFFS BASED ON LACK OF PERSONAL JURISDICTION

       Pursuant to Federal Rules of Civil Procedure Rule 12(b)(2), Defendant Zurich American

Insurance Company (“Zurich American”) respectfully requests this Court to dismiss the claims

of Plaintiffs Masterworks Development Co., LLC; Club Quarters Management Company,

L.L.C.; Club Quarters Franchise Network, L.L.C.; Club Quarters Membership Network, L.L.C.;

Cedar & Washington Associates, LLC; 11 West 51 Realty LLC; 451 Lexington Realty LLC;


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Northumberland House Limited; Kingsway LIF Holdings Limited; Michigan Wacker Associates,

L.L.C.; Urban Lifestyle Management, LLC; PTH 40 Associates, LLC; and Midtown South

Owner LLC (“Certain Plaintiffs”) on the grounds that this Court lacks personal jurisdiction over

Zurich American as to the claims of these Certain Plaintiffs.

                                          I.
                                 SUMMARY OF ARGUMENT
       Although Plaintiffs’ Original Petition (“Petition”) identifies fourteen corporate entities as

Plaintiffs and seeks insurance coverage for alleged losses to sixteen hotels located in six states,

Washington, D.C., and London, England, this lawsuit involves only one Texas-based claimant

(Fannin & Rusk Associates, L.P.) and a single Texas property (a hotel located in Houston,

Texas). All other Plaintiffs in this action – who are organized under the laws of other states or

countries, based in other states or countries, and own, manage, or operate hotels in other states

or countries – have tethered their claims to those of the lone Texas claimant (Fannin & Rusk

Associates, L.P) in an effort to bootstrap their way into a Texas court.

       Zurich American seeks dismissal of the claims of these Certain Plaintiffs because, as to

those claims, the Court does not have personal jurisdiction over Zurich American. This case

arises out of alleged losses that all Plaintiffs allegedly suffered to their hotel businesses due to

the SARS-CoV-2 virus, which causes the COVID-19 disease. Plaintiffs’ Petition broadly alleges

that Plaintiffs collectively own, operate and/or manage hotels in California, Illinois,

Massachusetts, Texas, New York, Pennsylvania, Washington, D.C., and London. But Certain

Plaintiffs do not allege that they own, operate, and/or manage any hotels in Texas. Nor do

Certain Plaintiffs allege that they have suffered any injury in Texas.

       Based on the lack of any allegation or evidence that Zurich American purposefully

directed its activities as to Certain Plaintiffs toward Texas, the Court does not have personal



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jurisdiction over Zurich American as to those claims. First, the Court lacks general jurisdiction

over Zurich American because Zurich American is not incorporated in Texas, and its principal

place of business is not in Texas.

       The Court also lacks specific jurisdiction over Zurich American. Specific personal

jurisdiction over a nonresident defendant arises when defendant has “purposefully directed” its

activities at the forum state and the litigation results from alleged injuries that arise out of or

relate to those activities. Here, Zurich American did not direct its activities at Texas residents

with respect to Certain Plaintiffs, who are not Texas residents. Nor have Certain Plaintiffs

alleged (let alone shown) that their injuries arise out of any conduct Zurich American directed at

Texas residents, because Zurich American engaged in no such conduct with respect to Certain

Plaintiffs, and because Certain Plaintiffs suffered no injuries in Texas.

       Because the Court lacks personal jurisdiction over Zurich American, it must dismiss the

claims of all Plaintiffs except Plaintiff Fannin & Rusk Associates, L.P.

                                            II.
                                      RELEVANT FACTS
A.     Allegations in Plaintiffs’ Petition
       Plaintiffs’ Petition generally lumps all Plaintiffs together, collectively referring to all

fourteen claimants as “Masterworks” or “Plaintiffs.” E.g. Dkt. #2-3 at 5–8, Introduction & ¶¶ 4–

9. In equally broad strokes, the Petition generally alleges that Plaintiffs own, operate and/or

manage hotels in California, Illinois, Massachusetts, Texas, New York, Massachusetts,

Pennsylvania, Washington D.C., and London, England under the “Club Quarters” brand, as well

as a hotel in New York named the Park Terrace Hotel. Dkt. #2-3 at 10–12, ¶¶ 28–31, 34.

       Masterworks Development Co., LLC is the First Named Insured on the property

insurance policy with Zurich American under which Plaintiffs make their claims. Dkt. #2-4 at



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14. In their Petition, Plaintiffs generally allege they have suffered loss of or damage to property

as a result of the SARS-CoV-2 virus, which causes the COVID-19 disease. Dkt. #2-3 at 11, ¶ 33.

Plaintiffs allege business income losses and extra expense for which they assert entitlement to

benefits under the policies with Zurich American. Id. at 11 ¶ 33, 14 ¶ 40.

       Plaintiffs’ Petition does not allege, however, facts sufficient to establish that any of

Certain Plaintiffs own, manage, or operate hotels in Texas, or that they have suffered any injury

in Texas:

               a.      Plaintiff Masterworks Development Co., LLC, is a New York limited

       liability company;

               b.      Plaintiff Club Quarters Management Company, L.L.C., is a Connecticut

       limited liability company;1

               c.      Plaintiff Club Quarters Franchise Network, L.L.C., is a Delaware limited

       liability company;

               d.      Plaintiff Club Quarters Membership Network, L.L.C., is a Delaware

       limited liability company;

               e.      Plaintiff Cedar & Washington Associates, LLC, is a New York limited

       liability company and the owner of the hotel located at 130 Cedar Street, New York, New



1
    Plaintiffs’ Petition alleges (without further detail or factual support) that Plaintiffs Club
    Quarters Management Company, L.L.C.; Club Quarters Franchise Network, L.L.C.; and
    Club Quarters Membership Network, L.L.C. are entitled to unspecified management, license,
    and membership fees from the hotels owned by Cedar & Washington Associates, LLC; 11
    West 51 Realty LLC; 451 Lexington Realty LLC; Northumberland House Limited;
    Kingsway LIF Holdings Limited; Michigan Wacker Associates, L.L.C.; Fannin & Rusk
    Associates, L.P; and Midtown South Owner LLC, as well as seven additional hotels (located
    in California, Illinois, Massachusetts, Washington D.C., and England) owned by third parties.
    See Dkt. #2-3 at 7–8. Plaintiffs’ Petition does not allege, however, facts sufficient to establish
    whether (or to what extent) these three entities derive any amount of revenue from fees
    relating to the singular Texas location at issue in this action.

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      York 10006;

               f.    Plaintiff 11 West 51 Realty LLC is a New York limited liability company

      and owner of the hotel located at 11 West 51st Street, New York, New York 10019;

               g.    Plaintiff 451 Lexington Realty LLC is a New York limited liability

      company and the owner of the hotel at 128 East 45th Street, New York, New York

      10017;

               h.    Plaintiff Northumberland House Limited is a United Kingdom private

      limited company and owner of the hotel located at 61 Lincoln's Inn Fields, London

      WC2A 3JW;

               i.    Plaintiff Kingsway LIF Holdings Limited is a United Kingdom private

      limited company and owner of the hotel located at 8 Northumberland Avenue, London

      WC2N 5BY;

               j.    Plaintiff Michigan Wacker Associates, L.L.C. is a Delaware limited

      liability company and the owner of the hotel located at 75 East Upper Wacker Drive,

      Chicago, Illinois, 60606;

               k.    Plaintiff Urban Lifestyle Management, LLC is a Delaware limited liability

      company;

               l.    Plaintiff PTH 40 Associates, LLC is a Delaware limited liability company

      and the owner of the hotel located at 18 West 40th Street, New York, New York 10018;

      and

               m.    Plaintiff Midtown South Owner LLC is a New York limited liability

      company and the owner of the hotel located at 40 West 45th Street, New York, New

      York 10036.




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Dkt. #2-3 at 8–9 ¶¶ 10–23. Only Plaintiff Fannin & Rusk Associates, L.P.—which (according to

Plaintiffs’ Petition) owns the hotel located at 720 Fannin Street, Houston, Texas 77002—can

allege any losses in Texas. See id. at 8 ¶ 20.

       Defendant Zurich American is a company incorporated in New York with its principal

place of business in Illinois. Dkt. #2-3 at 9 ¶ 24.

                                             III.
                                       LEGAL STANDARD
       Federal Rule of Civil Procedure 12(b)(2) authorizes dismissal based on the defense that a

court lacks personal jurisdiction over the defendant. Fed. R. Civ. P. 12(b)(2). Whether personal

jurisdiction may be exercised over a nonresident is a question of law. Cooper v. McDermott

Intern., Inc., No. 93–2907, 1995 WL 450209, *3, 62 F.3d 395 (Table) (5th Cir. July 6, 1995).

When a defendant files a motion to dismiss for lack of jurisdiction under Federal Rule of Civil

Procedure 12(b)(2), the plaintiff bears the burden of demonstrating that the court has personal

jurisdiction over the defendant. Luv N’ Care, Ltd. v. Insta–Mix, Inc., 438 F.3d 465, 469 (5th Cir.

2006) (citing Wyatt v. Kaplan, 686 F.2d 276, 280 (5th Cir. 1982)). “When the district court rules

on a motion to dismiss for lack of personal jurisdiction ‘without an evidentiary hearing, the

plaintiff may bear his burden by presenting a prima facie case that personal jurisdiction is

proper.”’ Quick Techs., Inc. v. Sage Group PLC, 313 F.3d 338, 343–44 (5th Cir. 2002) (quoting

Wilson v. Belin, 20 F.3d 644, 648 (5th Cir. 1994)). When a defendant disputes the factual basis

for personal jurisdiction, the district court may consider the record before it, including

“affidavits, interrogatories, depositions, oral testimony, or any combination of the recognized

methods of discovery.” Id. at 344 (quoting Thompson v. Chrysler Motors Corp., 755 F.2d 1162,

1165 (5th Cir. 1985)). On a motion to dismiss under Rule 12(b)(2), uncontroverted allegations in

plaintiff’s complaint are taken as true, and conflicts between facts in the parties’ affidavits must



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be resolved in plaintiff’s favor for purposes of the prima facie case of personal jurisdiction.

Johnston v. Multidata Sys. Intern. Corp., 523 F.3d 602, 609 (5th Cir. 2008).

       The court must find it has personal jurisdiction over the defendant before it makes any

decision on the merits. Sinochem Int’l Co. v. Malay. Int’l Shipping Corp., 549 U.S. 422, 430, 127

S.Ct. 1184, 167 L.Ed.2d 15 (2007); Guidry v. U.S. Tobacco Co., 188 F.3d 619, 623, n.2 (5th Cir.

1999) (“Personal jurisdiction is an essential element of the jurisdiction of a district court, without

which it is powerless to proceed to an adjudication.”).

                                              IV.
                                           ARGUMENT
A.     This Court Lacks Personal Jurisdiction over Zurich American as to Certain
       Plaintiffs’ Claims
       “A ‘federal court sitting in diversity may assert jurisdiction if (1) the state’s long-arm

statute applies, as interpreted by the state’s courts; and (2) if due process is satisfied under the

fourteenth amendment to the United States Constitution.’” Johnston, 523 F.3d at 609 (5th Cir.

2008) (quoting Cycles, Ltd. v. W.J. Digby, Inc., 889 F.2d 612, 616 (5th Cir. 1989)). “Because the

Texas long-arm statute extends to the limits of federal due process, the two-step inquiry

collapses into one federal due process analysis.” Id. (citing Wilson, 20 F.3d at 647). “Federal due

process requires a plaintiff to prove: (1) that the non-resident purposely availed himself of the

benefits and protections of the forum state by establishing ‘minimum contacts’ with the state;

and (2) that the exercise of jurisdiction does not offend ‘traditional notions of fair play and

substantial justice.’” Id. (quoting Wilson, 20 F.3d at 647).

B.     Certain Plaintiffs Cannot Satisfy the “Minimum Contacts” Requirement of the Due
       Process Clause
       Under the minimum contacts inquiry, a plaintiff must show that the non-resident

defendant’s conduct in the action is connected to the forum state and that, because of such




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conduct, the defendant can reasonably anticipate being haled into court in that state. Burger King

Corp. v. Rudzewicz, 471 U.S. 462, 474, 105 S. Ct. 2174, 2183, 85 L. Ed. 2d 528 (1985). To meet

the minimum contacts test, Certain Plaintiffs must establish either general jurisdiction or specific

jurisdiction over Zurich American. Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S.

915, 923, 131 S. Ct. 2846, 2853, 180 L. Ed. 2d 796 (2011).

       1.      This Court Does Not Have General Jurisdiction over Zurich American as to
               Certain Plaintiffs’ Claims
       General jurisdiction concerns the circumstances where, based on the defendant’s overall

activities in the state, a court may exercise jurisdiction over the defendant for causes of action

unrelated to the defendant’s in-state activities. Certain Plaintiffs cannot establish that the Court

has general jurisdiction over Zurich American. Recently, the United States Supreme Court

narrowed the minimum contacts test used to determine whether general jurisdiction exists such

that it satisfies the Due Process Clause. See Goodyear, 564 U.S. at 919-920 (2011); Daimler AG

v. Bauman, 571 U.S. 117 (2014); BNSF Railway Co. v. Tyrrell, 137 S.Ct. 1549, 1558-1559

(2017); see also Johnston, 523 F.3d at 609 (reviewing past “past cases to illustrate just how

difficult it is to establish general jurisdiction”). In Goodyear, the United States Supreme Court

held that a “court may assert general jurisdiction over foreign (sister-state or foreign-country)

corporations to hear any and all claims against them when their affiliations with the State are so

‘continuous and systematic’ as to render them essentially at home in the forum State.” Goodyear,

564 U.S. at 919–20.

       In 2014, the United States Supreme Court interpreted the phrase “at home” in Goodyear

as the corporation’s principal place of business and state of incorporation. Daimler, 571 U.S. at

137. The Court stated that a defendant’s operations in a state other than its home state would

have to be “so substantial and of such a nature as to render the corporation at home in the State”



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before “general jurisdiction” could be exercised, and that such a case would be “an exceptional

case.” In rejecting the argument that general jurisdiction can “be premised solely upon

‘continuous and systematic’ contacts with a forum state,” the Supreme Court held that such

exercise would be “unacceptably grasping.” Id. at 137–38. The United States reiterated that

standard in its 2017 decision BNSF Railway Company v. Tyrrell, 137 S. Ct. 1549, 1558–59, 198

L. Ed. 2d 36 (2017). As Daimler instructs and BNSF reaffirms, a “corporation that operates in

many places can scarcely be deemed at home in all of them. Otherwise, ‘at home’ would be

synonymous with ‘doing business’ . . . .” Daimler, 571 U.S. at 139 n.20; BNSF, 137 S. Ct. at

1559.

         Here, Zurich American is not subject to general jurisdiction in the Texas courts. Zurich

American was formed under the laws of New York with its principal place of business in Illinois.

See Dkt. #2-3 at 9 ¶ 24. That is, Zurich American is “at home” in New York and Illinois and is

not “at home” in Texas. Further, Certain Plaintiffs have not and cannot set forth any facts which

establish an “exceptional case” to allow general jurisdiction over Zurich American in Texas. It

would be fundamentally unfair to allow Certain Plaintiffs to sue Zurich American in Texas for

their injuries allegedly sustained all over the world. Accordingly, Texas courts do not have

general jurisdiction over Zurich American.

         2.     This Court Does Not Have Specific Jurisdiction over Zurich American

         Specific jurisdiction is authorized when a defendant’s in-state activities with respect to

the transaction underlying the litigation gave rise to the plaintiff’s claims. Daimler, 571 U.S.

117, 126 (2014); Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 413 nn. 8, 9

(1984). The determination of personal jurisdiction over a defendant applies to each plaintiff’s

claims separately. Bristol-Myers Squibb Co. v. Superior Ct., 137 S. Ct. 1773, 1781 (2017). In




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Bristol-Myers, the Supreme Court rejected the assertion that a defendant was subject to suit in

California as to claims asserted by non-California residents just because California residents

were also joined as plaintiffs. As the Supreme Court stated, “‘a defendant’s relationship with a

. . . third party, standing alone, is an insufficient basis for jurisdiction.’ This remains true even

when third parties . . . can bring claims similar to those brought by the nonresidents. . . . What is

needed—and what is missing here—is a connection between the forum and the specific claims at

issue.” Id. (citation omitted). As a result, the Supreme Court reversed and remanded the case,

noting that the out-of-state plaintiffs could sue in a state where the court has general jurisdiction

over the defendant, or could sue in their home states. Id. at 1783.

       The Fifth Circuit has similarly stated:

                       In this circuit, specific personal jurisdiction is a claim-
               specific inquiry: “A plaintiff bringing multiple claims that arise out
               of different forum contacts of the defendant must establish specific
               jurisdiction for each claim.” We have articulated a three-step
               analysis for specific jurisdiction: “(1) whether the defendant has
               minimum contacts with the forum state, i.e., whether it purposely
               directed its activities toward the forum state or purposefully
               availed itself of the privileges of conducting activities there; (2)
               whether the plaintiff’s cause of action arises out of or results from
               the defendant's forum-related contacts; and (3) whether the
               exercise of personal jurisdiction is fair and reasonable.”

McFadin v. Gerber, 587 F.3d 753, 759 (5th Cir. 2009) (citations omitted); see also Burger King,

471 U.S. 462, 472 (1985) (“Where a forum seeks to assert specific jurisdiction over an out-of-

state defendant who has not consented to suit there, [the due process] requirement is satisfied if

the defendant has ‘purposefully directed’ his activities at residents of the forum, and the

litigation results from alleged injuries that ‘arise out of or relate to’ those activities.” (citations

omitted)).

       Here, Fannin & Rusk Associates, L.P., owns the only Texas hotel at issue in this case. It

is thus the only Plaintiff that can demonstrate Zurich American “purposefully directed” its


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activities at Texas residents, and that its cause of action arises out of or results from the

defendant’s forum-related contacts. None of the other Plaintiffs (identified in this Motion as

“Certain Plaintiffs”) can make that showing. They are organized under the laws of other states or

countries, based in other states or countries, and (according to Plaintiffs’ Petition) own, manage,

or operate hotels in other states or countries. Dkt. #2-3 at 8–9 ¶¶ 10–23.

          Simply put, Certain Plaintiffs have not alleged facts sufficient to establish that, as to

them, Zurich American “purposefully directed” its actions at Texas residents. The fact that this

Court has personal jurisdiction as to the claims of another plaintiff in this action (Fannin & Rusk

Associates, L.P.) does not suffice to create personal jurisdiction over Zurich American as to

Certain Plaintiffs’ claims. Bristol-Myers, 137 S. Ct. at 1781; McFadin v. Gerber, 587 F.3d 753,

759. This Court thus lacks personal jurisdiction over Zurich American as to Certain Plaintiffs’

claims.

C.        Certain Plaintiffs Cannot Satisfy the Reasonableness Inquiry Prong of the Due
          Process Clause
          Even if “minimum contacts” have been established, which it has not, the assertion of

personal jurisdiction must still be reasonable and not offend traditional conceptions of fair play

and substantial justice. Burger King, 471 U.S. at 464, 477. Recently, the United States Supreme

Court recognized that the primary concern as to whether the exercise of jurisdiction is reasonable

is “the burden on the defendant.” Bristol-Myers Squibb, 137 S.Ct. at 1780. That burden requires

the court to not only assess “the practical problems resulting from litigating in the forum” but

also to assess “the more abstract matter of submitting to the coercive power of a State that may

have little legitimate interest in the claims in question.” Id. “[R]estrictions on personal

jurisdiction ‘are more than a guarantee of immunity from inconvenient or distant litigation. They

are a consequence of territorial limitations on the power of the respective States.’” Id. (quoting



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Hanson v. Denckla, 357 U.S. 235, 251 (1958)). Accordingly, the Supreme Court reiterated its

federalism concerns stating that

               [e]ven if the defendant would suffer minimal or no inconvenience
               from being forced to litigate before the tribunals of another State;
               even if the forum State has a strong interest in applying its law to
               the controversy; even if the forum State is the most convenient
               location for litigation, the Due Process Clause, acting as an
               instrument of interstate federalism, may sometimes act to divest
               the State of its power to render a valid judgment.
Id. at 1780–81 (quoting World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 294, 100 S.

Ct. 559, 565–66, 62 L. Ed. 2d 490 (1980)).

        Here, it would be unreasonable for this Court to exercise jurisdiction over Zurich

American, which has no connection whatsoever to Texas with respect to Certain Plaintiffs’

claims. Further, Texas has no interest in litigating any issues between Zurich American and

Certain Plaintiffs because neither these parties nor their causes of action have any connection

with Texas. For these reasons, it is not appropriate for this Court to exercise jurisdiction over

Zurich American as to Certain Plaintiffs’ claims in this forum.

                                            V.
                                        CONCLUSION
       Because Certain Plaintiffs cannot establish that this Court has personal jurisdiction over

Zurich American as to their claims, this Court must dismiss the claims of all Plaintiffs except

Plaintiff Fannin & Rusk Associates, L.P.




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                                         Respectfully submitted,

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                               CERTIFICATE OF SERVICE

      This is to certify that on April 5, 2021, a true and correct copy of the foregoing document
was delivered to all known counsel of record in accordance with the Federal Rules of Civil
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